                                                                                          Motion GRANTED.
                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
                                              )
       v.                                     )       No. 2:11-00002
                                              )       Judge Trauger
                                              )
SPIKE HEDGECOTH                               )

                              MOTION TO SEAL TRANSCRIPT

       The defendant, through counsel, respectfully moves the Court to seal the

transcript of the status conference held on December 5, 2013 (DE 1609).


                                              Respectfully submitted,

                                              s/ Sumter L. Camp
                                              SUMTER L. CAMP
                                              Assistant Federal Public Defender
                                              Attorney for Defendant
                                              810 Broadway, Suite 200
                                              Nashville, TN 37203
                                              615-736-5047

                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 17th day of December, 2013, I electronically filed the foregoing
with the clerk of the court by using the CM/ECF system, which will send a notice of Electronic
Filing to the following:

    Blanche B. Cook, Assistant U.S. Attorney, 110 9th Ave.South, A-961, Nashville, TN 37203;
    Paul J. Bruno, Bank of America Plaza, 414 Union Street, Suite 904, Nashville, TN 37219;
    Kimberly S. Hodde, Hodde & Associates, 40 Music Square East, Nashville, TN 37203;
    Chuck Buckholts, 2400 Crestmoor Road, Nashville, TN 37215.

    This document has also been sent, via electronic mail, to Roxann Harkins, Court Reporter.

                                              s/ Sumter L. Camp
                                              SUMTER L. CAMP




Case 2:11-cr-00002        Document 1612           Filed 12/18/13    Page 1 of 1 PageID #: 4232
